Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 1 of 13



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

           plaintiffs,
  v.                                                       Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/


                                 JOINT TRIAL EXHIBIT LIST

   Exhibit
                    Date      Document Description          Bates No./Source     Admitted
   Number
                            W&K Info Defense Research
                                                           KLEIMAN_00562358-
       JE001      2/16/11   LLC Articles of Organization
                                                           KLEIMAN_00562359
                            filed on 2/16/2011
                            2014 Limited Liability
                            Company Reinstatement for
       JE002      3/28/14                                  KLEIMAN_00299062
                            W&K Info Defense Research
                            LLC
                            Email from A. Pedersen to J.
                            Warren re BitMessage:
                            Security Software Code
                                                             DEF_00762932-
       JE003      12/2/14   review, dated December 2,
                                                             DEF_00762934
                            2014 (Exhibit D03 in J.
                            Warren's 7/24/2019
                            deposition)
                            Email from R. Radvanovsky
                            to C. Wright re Long time
                            and all, dated February 16,    DEF_00285685/BEV_0
       JE004      2/16/11
                            2011 (Exhibit 5 in R.               0643451
                            Radvanovsky's 12/12/2019
                            deposition)
                            Conversation on Reddit
                            (Exhibit 14 in A.
       JE005     12/30/19
                            Antonopoulos' 1/7/2020
                            deposition)
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 2 of 13




   Exhibit
              Date       Document Description         Bates No./Source   Admitted
   Number
                       Conversation on Reddit
                       (Exhibit 17 in A.
    JE006     7/7/05
                       Antonopoulos' 1/7/2020
                       deposition)
                       Email from MYOB AU
                       Customer Service to C.
                       Wright re MYOB
                       AccountRight Live
    JE007     8/8/13   Administrator - invitation      DEF_00262775
                       accepted, dated August 8,
                       2013 (Exhibit 18 in J.
                       Wilson's 11/8/2019
                       deposition)
                       Deed of Assignment and
                       Charge between Craig
                                                       DEF_00023206-
    JE008    7/15/13   Wright (ABN 97 481 146
                                                       DEF_00023219
                       384) and DeMorgan Wright
                       Family Trust
                       IP Deed of Assignment
                       between The Wright Family      DEFAUS_00555535-
    JE009    9/15/13
                       Trust Demorgan and Coin-       DEFAUS_00555542
                       Exch Pty Ltd
                       Email from A. Andresen to J.
                       Garzik, G. Maxwell, W. van
                       der Laan, and P. Wuille re
                       The satoshin@gmx.com           GAVIN_00000375-
    JE010     9/9/14
                       account compromise, dated      GAVIN_00000376
                       September 9, 2014 (Exhibit
                       70 in G. Andresen's
                       2/26/2020 deposition)
                       Document from G. Andresen
                       titled "Not as rich as you
                       think", dated February 14,
    JE011    2/14/18
                       2018 (Exhibit 71 in G.
                       Andresen's 2/26/2020
                       deposition)
                       Email chain with attachment
                       between D. Kleiman, C.         DEFAUS_00694555-
    JE012    2/16/11
                       Wright and L. Wright re:       DEFAUS_00694559
                       Registration - TTA1



                                            2
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 3 of 13




   Exhibit
              Date        Document Description              Bates No./Source          Admitted
   Number
                        Email chain between C.
                                                            DEFAUS_00092832-
    JE013    2/15/11    Wright, L. Wright and D.
                                                            DEFAUS_00092833
                        Kleiman re: Link to R&D site
                        Craig Declaration, dated May 8,
    JE014     5/8/19                                             [DE 222]
                        2019
                        "Bitcoin: A Peer-to-Peer
                                                              DEF_00985722-
    JE015    10/31/08   Electronic Cash System" by
                                                              DEF_00985730
                        S. Nakamoto
                        Email chain between T.
    JE016    4/30/13    Young and C. Wright re:               DEF_00026682
                        Meeting
                        C. Wright Australian Private        DEFHC_01637714-
    JE017    6/19/13
                        ruling tax application              DEFHC_01637718
                        Materials considered by R.
                        Leonard (Exhibit H in R.
    JE018    4/10/20
                        Leonard's 4/24/2020
                        deposition)
                        Provided Metadata (Exhibit
    JE019    4/10/20    5 in M. Edman's 4/29/20
                        deposition)
                        Coin Exch Pty Ltd Transfer of
    JE020    3/12/14                                        DEFHC_00001114
                        shares dated 3/12/2014
                                                          http://search.sunbiz.org/
                                                          Inquiry/CorporationSearc
                                                          h/GetDocument?aggrega
                                                           teId=flal-l11000019904-
                                                             dce79b55-176a-4442-
                                                                     93a7-
    JE021    4/12/18
                                                          3c8896316aa2&transacti
                                                            onId=l11000019904-re-
                        2018 Limited Liability               42d2ae10-fbd1-4902-
                        Company Reinstatement for                     8f7e-
                        W&K Info Defense Research          f57e746413cf&formatTy
                        LLC                                         pe=PDF
                                                             KARP_00000140-
    JE022    10/25/13
                        D. Kleiman Last Will                 KARP_00000144
                        Plaintiffs' Second Amended
                        Responses and Objections to
    JE023    3/21/19    Wright's First Set of
                        Interrogatories to Plaintiff,
                        Ira Kleiman
                        Exhibit D02 in J. Warren's
    JE024    10/5/12
                        7/24/2019 deposition
                                               3
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 4 of 13




   Exhibit
              Date        Document Description           Bates No./Source     Admitted
   Number
                        A. Antonopoulos' time log
    JE025    12/3/19
                        1/7/2020
                        M. Edman's invoice
    JE026    7/16/19
                        7/16/2019
                        M. Edman's invoice
    JE027    8/15/19
                        8/15/2019
                        M. Edman's invoice
    JE028     1/9/20
                        1/9/2020
                        Email chain between D.
    JE029    10/16/18   Kleiman and I. Kleiman re:      KLEIMAN_00003249
                        Happy B-day!
                                                       https://medium.com/
    JE030    12/10/18   C. Wright blog post dated       @craig_10243/the-
                        Dec. 10, 2018                   fury-fb603e344d20
                        Email chain between C.
                                                        DEFAUS_00119548-
    JE031    4/28/14    Wright and I. Kleiman re:
                                                        DEFAUS_00119554
                        domains
                        Email chain with attachment
                        between D. Kleiman, C.          DEFAUS_00694603-
    JE032    2/17/11
                        Wright and L. Wright re:        DEFAUS_00694607
                        Four proposals
                        Email with attachment from
                                                          DEF_00009698-
    JE033    2/16/11    D. Kleiman to C. Wright and
                                                          DEF_00009706
                        L. Wright re: Four proposals
                        Email chain between C.
    JE034    2/16/11    Wright, D. Kleiman and L.        DEFAUS_00093074
                        Wright re: Four proposals
                        Email chain between C.
    JE035    2/16/11    Wright, D. Kleiman and L.        DEFAUS_00093075
                        Wright re: Four proposals
                                                       https://www.youtube.
    JE036    5/10/18    YouTube tribute to D.          com/watch?v=uVtOkE5
                        Kleiman by C. Wright                    vHbY
                                                          DEF_00727082-
    JE037     2009
                        Bitcoin blockchain code            DEF_00727091
                        A. Antonopoulos' Time log
    JE038    11/27/19
                        11/27/2019-4/23/2020
                        A. Antonopoulos' Invoice
    JE039     1/8/20
                        1/8/2020
                        A. Antonopoulos' Invoice
    JE040    4/10/20
                        4/10/2020

                                                4
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 5 of 13




   Exhibit
              Date       Document Description         Bates No./Source    Admitted
   Number
                       S. Boedeker Invoice
    JE041    4/22/20
                       4/22/2020
                       M. Edman's Invoice
    JE042     2/3/20
                       2/3/2020
                       M. Edman's Invoice
    JE043    4/14/20
                       4/14/2020
                       D. Kleiman Certification of
    JE044     5/8/20                                 KLEIMAN_00562426
                       Death
                       Email chain between P.
                                                     KLEIMAN_00396011-
    JE045    12/9/15   Paige and K. Andreou re:
                                                     KLEIMAN_00396012
                       Bitcoin?
                       Email to S. Matthews and R.
    JE046    12/8/15   Watts from C. Wright re:        DEF_00022662
                       Fwd: On a side note -
                       Quit Claim Deed from D.
                       Kleiman to I. Kleiman, Palm
    JE047     3/8/12   beach County CFN
                       20120092166 OR BK 25058
                       PG 1867
                       Email chain with attachment
                                                     KLEIMAN_00278090 -
    JE048    3/11/14   between I. Kleiman and C.
                                                      KLEIMAN_00278091
                       Wright re: Letter
                       Email chain with attachment
                                                     KLEIMAN_00568407-
    JE049    3/12/14   between I. Kleiman and A.
                                                     KLEIMAN_00568415
                       Damoka re: Letter
                       Petition for Disposition of
                       Personal Property Without
                       Administration (verified
    JE050     2013
                       statement) IN RE: Estate of
                       David Alan Kleiman File No.
                       502013CP005060
                       Email chain between D.
                                                     DEFAUS_01731927-
    JE051    2/23/08   Kleiman and C. Wright re:
                                                     DEFAUS_01731935
                       [CCE] RE: PI License Debate
                       Email chain between D.
    JE052    2/19/09   Kleiman and C. Wright re:      DEFAUS_00688883
                       How are you
                       Email chain between D.
    JE053     3/3/09   Kleiman and C. Wright re:      DEFAUS_00688966
                       Next week



                                           5
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 6 of 13




   Exhibit
              Date        Document Description          Bates No./Source         Admitted
   Number
                        Email chain between D.
    JE054    3/10/09    Kleiman and C. Wright re:       DEFAUS_00689010
                        Welcome
                        Email chain between C.
                                                       DEFAUS_00688386-
    JE055     4/9/08    Wright and D. Kleiman re:
                                                       DEFAUS_00688387
                        Runners up
                        Email chain with attachment
                                                       DEFAUS_00686584-
    JE056    11/27/07   between C. Wright and D.
                                                       DEFAUS_00686589
                        Kleiman re: Question
                        Email to D. Kleiman from C.
    JE057    11/11/10                                   DEFAUS_00092218
                        Wright re: Next time
                        Email chain between D.
                        Kleiman and C. Wright re:      DEFAUS_00688425-
    JE058    4/22/08
                        Authorship offer (ISC) 2       DEFAUS_00688433
                        Press Series - ISSMP
                        Email chain between C.
                                                       DEFAUS_00687375-
    JE059    12/23/07   Wright and D. Kleiman re:
                                                       DEFAUS_00687376
                        New year and all
                        Email chain between C.
                        Wright and D. Kleiman re:
                                                       DEFAUS_00687896-
    JE060    3/13/08    Defamation and the
                                                       DEFAUS_00687904
                        difficulties of law on the
                        Internet.aig
                        Email to M. Pollitt, C.
                        Whitcomb, S. Guttman and
                        C. Wright from D. Kleiman      DEFAUS_00688772-
    JE061    5/24/08
                        re: Recommendations for        DEFAUS_00688773
                        DFCB board / committee
                        member
                        Email to C. Wright from D.
    JE062    3/13/09                                    DEFAUS_00689025
                        Kleiman re: morning
                        Appendix B to N. Chamber's
    JE063    4/10/20
                        expert report
                                                          CODE_000001-
                                                           CODE_000070
                                                      https://satoshi.nakamo
                                                       toinstitute.org/code/
    JE064     2008
                        Timechain 2008 Satoshi
                        Nakamoto comprising of        https://bitcointalk.org/
                        main.cpp; main.h; and         index.php?topic=38237
                        node.cpp                                 4.0


                                            6
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 7 of 13




   Exhibit
              Date        Document Description           Bates No./Source   Admitted
   Number
                        "Basic Economics: A Citizen's
                                                         DEF_01670276-
    JE065    8/20/08    Guide to the Economy" by T.
                                                         DEF_01670584
                        Sowell
                        "Probability and Finance: It's
                                                         DEF_01328526-
    JE066     5/8/06    Only a Game!" by G. Shafer
                                                         DEF_01328942
                        and V. Vovk
                        "Great Scientific Ideas That
                                                         DEF_00371521-
    JE067    3/31/07    Changed the World: Part I"
                                                         DEF_00371982
                        by S. Goldman
                        "Playing For Real: A Text on     DEF_00368019-
    JE068    1/22/08
                        Game Theory" by K. Binmore       DEF_00368670
                        "Network Security
                        Assessment: From                 DEF_01124388-
    JE069    12/4/06
                        Vulnerability to Patch" by S.    DEF_01124785
                        Manzuik, K. Pfeil and A. Gold
                        "Building Embedded Linux
                        Systems" by K. Yaghmour, J.      DEF_01714633-
    JE070     8/6/08
                        Masters, G. Ben-Yossef and       DEF_01715096
                        P. Gerum
                        "Network Externality: An
                                                         DEF_00285316-
    JE071    12/12/07   Uncommon Tragedy" by S. J.
                                                         DEF_00285334
                        Liebowitz and S. Margolis
                        "Static Games of Incomplete      DEF_00285308-
    JE072    5/26/03
                        Information" by J. Ratliff       DEF_00285315
                        "Ruin probability for Levy
                        risk process compounded by
                                                         DEF_00285297-
    JE073    4/23/07    geometric Brownian
                                                         DEF_00285307
                        motion*" by X. Zhao and C.
                        Yin
                        "Toward Econometric
                        Models of the Security Risk      DEF_00285284-
    JE074    5/19/04
                        from Remote Attacks" by S.       DEF_00285296
                        Schechter
                        "Toward a Dynamic
                        Modeling of the                  DEF_00285265-
    JE075    10/19/06
                        Vulnerability Black Market"      DEF_00285283
                        by J. Radianti and J. Gonzalez
                        "Chaos Theory: Two Essays
                                                         DEF_00285193-
    JE076     3/8/07    on Market Anarchy" by R.
                                                         DEF_00285251
                        Murphy



                                              7
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 8 of 13




   Exhibit
              Date        Document Description            Bates No./Source   Admitted
   Number
                        "Game Theory: A Critical
                        Introduction" by S.                DEF_01235727-
    JE077    10/14/04
                        Hargreaves Heap and Y.             DEF_01236021
                        Varoufakis
                        "Hazlitt vs. Hansen:
                        Differences in the Analysis of
                                                           DEF_00810031-
    JE078    10/14/04   The General Theory of
                                                           DEF_00810071
                        Employment, Interest, and
                        Money" by A. Villacampa
                        "A subjectivist theory of
                                                           DEF_00350023-
    JE079    4/12/04    entrepreneurship" by J.
                                                           DEF_00350055
                        Mahoney and S. Michael
                        "Control - A History of
                                                           DEF_01671841-
    JE080    10/26/06   Behavioral Psychology" by J.
                                                           DEF_01672099
                        Mills
                        "Cisco IOS Switch Security
                        Configuration Guide" by A.
                                                           DEF_00211404-
    JE081    6/28/04    Borza, D. Duesterhaus, C.
                                                           DEF_00211489
                        Grabczynski, J. Johnson, R.
                        Kelly and T. Miller
                        Email to I. Kleiman from C.
                                                         KLEIMAN_00185330-
    JE082    5/12/14    Wright re: FW: Draft
                                                         KLEIMAN_00185331
                        submissions to ATO
                         Minute book for Coin-Exch
                        Pty Ltd and various emails         DEF_00013161-
    JE083    3/12/14
                        regarding Coin-Exch shares         DEF_00013172
                        for Kleiman Estate
                        Current details for ABN for
    JE084    10/22/14                                    DEFAUS_01570160
                        Coin-Exch Pty. Ltd.
                        Wright International
    JE085    3/10/20    Investments Ltd Items              DEF_01924295
                        Register [Detail] from MYOB
                        Screenshot of Wright
    JE086    2/26/11    International Investments          DEF_01924354
                        Ltd purchase from MYOB
                        Screenshot of Wright
    JE087     3/1/11    International Investments          DEF_01924330
                        Ltd payment from MYOB
                        Screenshot of Wright
    JE088    10/1/09    International Investments          DEF_01924348
                        Ltd purchase from MYOB

                                              8
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 9 of 13




   Exhibit
               Date        Document Description            Bates No./Source     Admitted
   Number
                         Screenshot of Wright
    JE089     1/2/10     International Investments          DEF_01924349
                         Ltd purchase from MYOB
                         Screenshot of Wright
    JE090     6/30/10    International Investments          DEF_01924355
                         Ltd purchase from MYOB
                         Screenshot of Wright
    JE091     4/2/10     International Investments          DEF_01924350
                         Ltd purchase from MYOB
                         Coin-Exch Pty Ltd Accounts         DEF_00041252-
    JE092     6/30/13
                         List                               DEF_00041254
                         Ridges Estate Pty Ltd Tax
    JE093     8/15/02                                       DEF_00075074
                         Invoice
             2/2/2009-   Multiple 2009 bills and            DEF_01638769-
    JE094
             4/26/2009   receipts                           DEF_01638856
                                                            DEF_01906764-
                                                            DEF_01906765

                                                            DEF_01634114-
    JE095     1/16/12
                         Email chain with attachment        DEF_01634145
                         between J. Chesher, K. Ng, C.
                         Wright and A. Sommer re:           DEF_01634146-
                         Appeal against ATO decision        DEF_01634147
                         Email chain between C.
                         Wright, D. Kleiman and L.
                         Wright re: Reminder: Your
    JE096     9/9/11                                      DEFAUS_00114566
                         Webinar is on Friday,
                         September 9, 2011 7:00 PM
                         - 8:00 PM AEST
                         Email to D. Kleiman from C.
    JE097     3/25/08                                     DEFAUS_00687909
                         Wright re: Runners up
                         Email chain between C.
                                                          DEFAUS_00687894-
    JE098     3/13/08    Wright, D. Kleiman and L.
                                                          DEFAUS_00687895
                         Wright re: Your offer
                         Email to self from I. Kleiman    KLEIMAN_00005358-
    JE099     4/7/15
                         re: Fwd: Dave                    KLEIMAN_00005361
                                                         https://www.youtube.
                         "Bitcoin Q&A: Not your Keys,    com/watch?v=AcrEEnD
    JE100    10/23/19
                         Not your Coins" video by A.     Lm58&ab_channel=aa
                         Antonopoulos                            ntonop



                                               9
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 10 of 13




    Exhibit
               Date         Document Description          Bates No./Source   Admitted
    Number
                         C. Wright 2009 Australian         DEF_00250696-
     JE101    6/30/09
                         Tax return                        DEF_00250727
                         Email chain between C.
                                                         KLEIMAN_00001722-
     JE102    2/15/14    Wright and I. Kleiman re:
                                                         KLEIMAN_00001724
                         Dave
                         Email chain between C.
                                                         KLEIMAN_00001657-
     JE103    2/15/14    Wright and I. Kleiman re:
                                                         KLEIMAN_00001660
                         Dave
                         Email to C. Wright from I.
     JE104     5/2/14                                    KLEIMAN_00176771
                         Kleiman re: quantum
                         Email to C. Wright and R.
     JE105     7/8/15    Watts from I. Kleiman re:       KLEIMAN_00185770
                         Proposal
                         Letter to C. Wright from          DEF_01491956-
     JE106    12/23/13
                         Australian Taxation Office        DEF_01491976
                         Supreme Court of New
                         South Wales
     JE107    11/6/13                                      DEF_01598404
                         Judgment/Order Case no.
                         2013/00245661
                         Supreme Court of New
                         South Wales
     JE108    11/6/13                                      DEF_00029338
                         Judgment/Order Case no.
                         2013/00225983
                         Compilation of Certified ASIC
                                                            ASIC000001-
     JE109               company documents for
                                                            ASIC000308
                         Australian companies
                         Compilation of ABN
                                                            ABR000001-
     JE110               Company History for
                                                            ABR000024
                         Australian companies
                         Email from D. Kleiman to C.
                         Wright and L. Wright re           DEF_00009663-
     JE111    2/15/11
                         Registration - TTAI, dated        DEF_00009664
                         February 15, 2011
                         U.S. Patent 14354359
                         invented by J. Wilson and C.
     JE112    10/28/11
                         Wright, dated October 28,
                         2011 (Wilson Dep. Ex. 22)
                         Computer Forensics, LLC
     JE113     2/1/13    Operating Agreement, dated      KLEIMAN_00068201
                         February 1, 2013




                                                10
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 11 of 13




    Exhibit
               Date         Document Description            Bates No./Source     Admitted
    Number
                         Email from C. Wright to J.
     JE114    6/26/13    Wilson and R. Watts re Some         DEF_00028015
                         history, dated June 26, 2013
                         Email from C. Wright to I.
                         Kleiman, R. Watts, and S.
     JE115    8/26/15                                        DEF_00022417
                         Matthews re Communication,
                         dated August 26, 2015
                         Email from C. Wright to C. Ayre
     JE116    11/26/15   et al. re Bitcoin, dated          DEFAUS_01074123
                         November 26, 2015
                         Florida Division of
                         Corporations - W&K Entity
     JE117    2/14/11
                         Search Results (Eisner Dep.
                         Ex. 14)
                         AlixPartners Inventory of
                                                             COC_00000010-
     JE118               Forensic Images on UnitedLex
                         Drive (E0066880)
                                                             COC_00000012
                         C. Wright - BitCoin: SEIR-C
                                                             DEF_01839995-
     JE119    12/21/08   propagation models of block
                         and transaction dissemination
                                                             DEF_01840021
                         C. Wright Post "Andrew
                         Carnegie said 'earn as much
     JE120    3/18/20    as possible, give as much as
                         possible."' (Craig Dep. IV Ex.
                         Tag 3)
                         2015 Florida LLC Annual Report
     JE121    4/22/15                                      SMJ Sur-Reply Ex. 2
                         for W&K
                         Email to D. Kleiman from C.
     JE122    6/18/07                                      DEFAUS_00684921
                         Wright re: SANS Las Vegas
                         Email from C. Wright to
     JE123    4/21/11    Ramona A re: Dave, dated April      DEF_00025400
                         21, 2011.
                         Email from C. Wright to D.
                         Kleiman, P. Henry, B. Long, C.
     JE124    11/16/08   Conrad, cc: R. Lee re: Forensic     DEF_00034411
                         Common Body of Knowledge,
                         dated November 16, 2008.
                         Email to D. Kleiman from C.
     JE125    12/18/07                                     DEFAUS_00687328
                         Wright re: Evidence
                         Email from C. Wright to I.        KLEIMAN_00001679-
     JE126    2/26/14
                         Kleiman, dated Feb. 26, 2014      KLEIMAN_00001685
                         Email chain between I. Kleiman
     JE127     3/6/14                                      KLEIMAN_00278087
                         and C. Wright re: Another


                                                11
Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 12 of 13




    Exhibit
                Date          Document Description          Bates No./Source       Admitted
    Number
                           Chain of Custody D. Kleiman
     JE128     4/23/19     Hitachi Hard Drive. Serial         COC_00000001
                           number MPCZN2Y0GS007H
                           Chain of Custody D. Kleiman
     JE129     4/23/19     Western Digital Hard Drive.        COC_00000002
                           Serial number WXMY08HR0801
                           Chain of Custody D. Kleiman
     JE130     4/23/19     Western Digital Hard Drive.        COC_00000003
                           Serial number WX72A20K2955
                           Chain of Custody D. Kleiman
     JE131     4/23/19     Seagate Hard Drive. Serial         COC_00000004
                           number 5VE1B6VT
                           Chain of Custody D. Kleiman
     JE132     4/23/19     Seagate Hard Drive. Serial         COC_00000005
                           number 5VJ07GCY
                           Chain of Custody UnitedLex
     JE133     4/23/19     Delivery Hard Drive. Serial        COC_00000006
                           number ULX2TB-0000493
                           AlixPartners Inventory of D.       COC_00000007-
     JE134
                           Kleiman Hard Drives                COC_00000009
                                                          http://www.metzdowd.
                           Email from S. Nakamoto to      com/pipermail/cryptogr
     JE135    10/31/2008
                           Metzdowd cryptography                 aphy/2008-
                           mailing list                    October/014810.html




         Respectfully submitted,


                                                  Attorneys for Dr. Craig Wright
                                                  RIVERO MESTRE LLP
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Case 9:18-cv-80176-BB Document 668 Entered on FLSD Docket 08/31/2021 Page 13 of 13



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                                    CERTIFICATE OF SERVICE

          I certify that on August 31, 2021, I electronically filed this document with the Clerk of the
   Court using CM/ECF. I also certify that this document is being served today on all counsel of
   record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
   Mail.


                                                                /s/ Andres Rivero
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